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UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF NEW YORK Judge Berman ORI GINAE

DOMINICA MANAGEMENT, INC., : ‘a
04 @¥ 07675

Plaintiff,
V. : ORDER TO SHOW GAUSE FOR
: PRELIMINARY INJUNCTION
AMERICAN UNIVERSITY OF ANTIGUA : AND TEMPORARY
COLLEGE OF MEDICINE, NEAL S. SIMON : RESTRAINING ORDER AND
And SOL WELTMAN, : FOR EXPEDITED DISCOVERY
Defendants. :
xX

 

Upon the annexed affidavits of John T. St. James, Robert O’ Leary and Susan A.
Corrado, all sworn to on the 27" day of September, 2004, and of Jennifer A. McLaughlin
and Peter J. Mastaglio, both sworn to September 28, 2004, and upon the copy of the ‘
complaint hereto annexed, it is

Of ALA ote cow Jorarree we H.
7 ORDERED, that the above named defendants fe pommtoremnes

SL this Court at Room 7X, United States Courthouse, sie otter in the City, County
SL and State of New York on serene 2004, ats o’clock in tne LEE, thereof,
or as soon thereafter as counsel may be heard, why an order should not be issued

pursuant to Rule 26 of the Federal Rules of Civil Procedure granting plaintiff expedited
discovery as set forth in paragraph 22 of the St. James moving affidavit and pursuant to
Rule 65 of the Federal Rules of Civil Procedure directing defendants during the pendency
of this action to preserve al] computer systems, removable electronic media and other
locations, including, but not limited to, e-mail and other electronic communication, word
processing documents, spreadsheets, databases, calendars, telephone logs, contact
manager information, Internet usage files, and network access information, and to

discontinue all data destruction and backup tape recycling policies; and it is further
Case 1:04-cv-07675-RMB-FM Document5 Filed 11/05/04 Page 2 of 2
ORDERED, that sufficient reason having been shown therefore, pending the

hearing of plaintiff's application for a preliminary whetedd pursuant to Rule 65, Fed.

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R. Civ. P., the defendant is temporarily directed to preserve al] computer systems.

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removable electronic media and other locations, including, but not limited to, e-mail and
other electronic communication, word processing documents, spreadsheets, databases,

[ calendars, telephone logs, contact manager information, Internet usage files, and network

access information, and to discontinue all data destruction and backup tape recycling

  
  

olicies; and it is further
4 ede security in the afgount of $ be p&sted by the

and it is further
ORDERED, that personal service of a copy of rE order and annexed affidavit
S. Tie PRA -
Y upon the defendants or their counsel on or before WMD o'clock in the ofleccon,

September 41, 2004, shall be deemed good and sufficient service thereof.

plaintiff prior to Sehtember _, 2004, at o'clock in the\__noon of Nat day;

Dated: New York. New York
IssuED:_6!2$ P. M

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United States District Judge
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ORDEFED in netsen ne later Then Yoo fm.
30, 2004 Te resolve

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